           Case 1:19-cr-00449-LO Document 573 Filed 06/27/22 Page 1 of 3



                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND

United States of America                    *
                                            *       Case No.: 1:19-cr-00449
v.                                          *
                                            *
Kenneth Ravenell                            *
                                            *
              Defendant.                    *
                                            *
*      *      *       *       *      *      *       *      *       *      *       *      *          *

                             DEFENDANT’S NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Defendant, Kenneth Ravenell, hereby appeals to the

United States Court of Appeals for the Fourth Circuit from the Judgment entered in this action on

June 22, 2022 (Dkt. 568).




                            [SPACE INTENTIONALLY LEFT BLANK]
        Case 1:19-cr-00449-LO Document 573 Filed 06/27/22 Page 2 of 3



June 27, 2022                       Respectfully submitted,

                                    SCHULTE ROTH & ZABEL LLP

                                    /s/ Aislinn Affinito
                                    ______________________________
                                    Peter H. White (D.C. Bar: 468746) (VA Bar: 32310)
                                    Aislinn Affinito (D.C. Bar: 1033700) (CA Bar:
                                    300265)
                                    McKenzie Haynes (D.C. Bar: 1644567) (N.Y. Bar:
                                    5683859)
                                    Schulte Roth & Zabel
                                    901 Fifteenth Street, NW, Suite 800
                                    Washington, DC 20005
                                    pete.white@srz.com
                                    aislinn.affinito@srz.com
                                    mckenzie.haynes@srz.com
                                    Attorneys for Kenneth Ravenell


                                    Outlaw PLLC

                                    /s/ Lucius Outlaw
                                    _______________________________
                                    Lucius T. Outlaw III (#20677)
                                    Outlaw PLLC
                                    1351 Juniper St. NW
                                    Washington, DC 20012
                                    (202) 997-3452
                                    loutlaw3@outlawpllc.com
                                    Attorney for Kenneth Ravenell




                                      2
          Case 1:19-cr-00449-LO Document 573 Filed 06/27/22 Page 3 of 3



                                CERTIFICATE OF SERVICE


       I hereby certify that on this 27th day of June, 2022, I caused a copy of Defendant’s Notice

of Appeal to be served via e-mail and ECF/PACER upon counsel for the United States of America.

A true and correct copy was also filed in the District of Maryland.




                                                            /s/ Aislinn Affinito
                                                            ______________________________
                                                            Aislinn Affinito
                                                            Attorney for Kenneth Ravenell

cc:

       Leo Wise
       Zachary Ray
       Assistant United States Attorneys
       36 South Charles Street, 4th Floor
       Baltimore, Maryland 21201
       (410) 209-4817
       leo.wise@usdoj.gov
       zachary.ray@usdoj.gov




                                                3
